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                         EXHIBIT 4
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                                                                       Page 1

1        1
                            IN THE UNITED STATES DISTRICT COURT
2        2              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
         3
3        4    * * * * * * * * * * * * * * * * * * * * * * * * * * * *
         5    THE CITY OF HUNTINGTON,
4        6                 Plaintiff,
         7    vs.                                       CIVIL ACTION
5                                                    NO. 3:17-01362
         8    AMERISOURCEBERGEN DRUG
6             CORPORATION, et al.,
         9
7                          Defendants.
        10
8             ________________________
        11
9             CABELL COUNTY COMMISSION,
        12
10                          Plaintiff,
        13
11            vs.                                CIVIL ACTION
        14                                    NO. 3:17-01665
12            AMERISOURCEBERGEN DRUG
        15    CORPORATION, et al.,
13      16                  Defendants.
14      17    * * * * * * * * * * * * * * * * * * * * * * * * * * * *
15      18
16      19
17                        Videotaped and videoconference deposition of
18      20    JAMES GELDHOF taken by the Defendants under the Federal
19            Rules of Civil Procedure in the above-entitled action,
20      21    pursuant to notice, before Teresa L. Harvey, a West
21            Virginia notary public and Registered Diplomate
22      22    Reporter, the witness appearing via videoconference from
23            Detroit, Michigan, West Virginia, on the 22nd day of
24      23    September, 2020.
25      24

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1        1     those laws and regulations; correct?

2        2              A.   No, I'm not.

3        3              Q.   You weren't involved in writing them, were you?

4        4              A.   No.

5        5              Q.   Are you aware that there have been discussions

6        6     over amending the suspicious order regulation that you

7        7     cite?

8        8              A.   Subsequent to my retirement I've heard, but

9        9     I -- I really don't know what the status of it is.

10      10              Q.   Have you had any role in potential efforts to

11      11     amend the suspicious order regulation?

12      12              A.   No, I've not.

13      13              Q.   That's Pages 2 to 3.      If you go to Pages 4

14      14     through 6, you talk about DEA oversight, including the

15      15     Diversion Investigators Manual, the Distributor

16      16     Initiative, and some of those Rannazzisi letters; is

17      17     that correct?

18      18              A.   Uh-huh, yes.

19      19              Q.   And then from Pages 6 to 9 you talk about DEA

20      20     enforcement actions against some defendants and some

21      21     non-defendants and then, as you mentioned, the

22      22     Congressional hearings in 2018; correct?

23      23              A.   Correct.

24      24              Q.   And there's no specific opinions I saw in here

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1        1     talking about the import of the enforcement actions or

2        2     the Congressional hearings; correct?

3        3              A.   Only that I incorporated them into my, I guess

4        4     position, on -- on, you know, the activity of industry

5        5     regarding the opioid epidemic.

6        6              Q.   Where -- where in your report do you state your

7        7     opinion on the activities of industry on the opioid

8        8     epidemic?

9        9              A.   That's a personal opinion.

10      10              Q.   Okay.   And I don't want to ask you about your

11      11     personal opinions.         I want to ask you about the opinions

12      12     you intend to offer --

13      13              A.   Okay.

14      14              Q.   -- in this case.      Is there any opinion

15      15     regarding the conduct of the industry that you offer in

16      16     Exhibit 1?

17      17              A.   No, they're just stated.

18      18              Q.   Where are they stated?

19      19              A.   Well, they're listed.

20      20              Q.   Okay.   Where -- where are they listed?       Where

21      21     are any opinions regarding the conduct of the industry

22      22     listed?

23      23              A.   I'm sorry.    I misunderstood.     I thought you

24      24     were talking about the activity -- the actions, the

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                                                                         Page 26

1        1     enforcement actions.

2        2              Q.   Oh, got it.     Got it.     Are there any opinions

3        3     that you give in your report that you intend to testify

4        4     about regarding the specific conduct of any defendant in

5        5     this case?

6        6              A.   No.

7        7              Q.   And, for example, you don't talk about any

8        8     defendants' Suspicious Order Monitoring Systems;

9        9     correct?

10      10              A.   No.

11      11              Q.   I don't believe you reviewed those in preparing

12      12     your opinion; correct?

13      13              A.   Correct.

14      14              Q.   Do you -- if I were to ask you for Cardinal or

15      15     ABDC or McKesson, what are the names of their programs

16      16     at different points in time, would you be able to answer

17      17     that?

18      18              A.   No.

19      19              Q.   You didn't review, as I understand it, any

20      20     communications between ABDC, Cardinal and McKesson on

21      21     the one hand or, one of them individually, and the DEA

22      22     about their Suspicious Order Monitoring Programs, did

23      23     you?

24      24              A.   I did.

25

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1        1     with the registrant.

2        2              Q.   I'm going to come to that.          I'm asking

3        3     something a little different.           Are you aware of any

4        4     company, before those letters in 2006 and 2007, that

5        5     routinely blocked all orders identified as suspicious?

6        6              A.   I have no idea.    There's -- there's several

7        7     distributors in the country.           I have no idea.

8        8              Q.   Are you aware that DEA knew, before those

9        9     letters, that companies were reporting orders as

10      10     suspicious but then shipping them?

11      11              A.   You'd have to be more specific.          Are you

12      12     talking about Ingredient Limit Reports?

13      13              Q.   Or any kind of report.       Excessive Purchase

14      14     Report, Suspicious Order Reports.               Are you aware that

15      15     DEA knew companies were making reports to DEA regarding

16      16     excessive purchases or suspicious orders, but then

17      17     nevertheless shipping those orders?

18      18              A.   Those Ingredient Limit Reports, based on

19      19     my -- my experience, were not considered suspicious

20      20     orders.

21      21              Q.   I'm not asking you about Ingredient Limit

22      22     Reports; I'm asking about excessive reports and

23      23     suspicious reports.       Do you know if DEA knew, before

24      24     2006, that companies were reporting orders as either

25

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1        1              A.   Correct.

2        2              Q.   And he then gets asked the question:

3        3                    "Where is that contained in regulations

4        4              or the statutes that you've cited?"

5        5                           And he says:

6        6                    "It's not contained in these regulations

7        7              and statutes."

8        8                           Do you see that?

9        9              A.   I do.

10      10              Q.   Do you agree with that, that the do-not-ship

11      11      requirement is not contained in the regulations or

12      12      statutes?

13      13              A.   No, I don't agree with that.

14      14              Q.   But he then says:

15      15                    "But they've been informed of that

16      16              policy by the DEA in these distributor

17      17              briefings."

18      18                           Do you see that?

19      19              A.   I do.

20      20              Q.   And are you aware that Mr. Rafalski gave that

21      21      testimony in his case, when you were supervising him,

22      22      that the distributors were first informed of a

23      23      do-not-ship requirement as part of a distributor

24      24      briefing in 2006?

25

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1        1                           MS. QUEZON:     Object to the form.

2        2                           THE WITNESS:     I'm aware of the

3        3     testimony -- I was his second line supervisor -- if

4        4     that's the question.

5        5              Q.   Yeah.    So you -- you knew he testified in a

6        6     government case, while you were supervising him, that

7        7     distributors were first told about the do-not-ship

8        8     requirement in 2006?

9        9              A.   I -- that's -- I knew he testified to that,

10      10     yeah.

11      11              Q.   Okay.    And then just to -- just to make sure we

12      12     have it for the record, if -- if you look down on

13      13     Page 91, Line 17.

14      14              A.   Okay.

15      15              Q.   He's asked, "When were they so informed?"

16      16                           Do you see that question?

17      17              A.   Yes.

18      18              Q.   And he says:

19      19                    "In a briefing conducted by Kyle Wright,

20      20              based on what my conversations were with Kyle

21      21              Wright."

22      22                           And he's asked:

23      23                    "When was that briefing?

24      24                    "The first briefing was in 2006.       I

25

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                                                                    Page 149

1        1              think January of 2006."

2        2                           Do you see that?

3        3              A.   Yes.

4        4              Q.   And that's just that point you mentioned just

5        5     now, you knew when you were at DEA that Mr. Rafalski

6        6     testified in a case he had that distributors were first

7        7     told about the do-not-ship requirement in a meeting in

8        8     January of 2006; right?

9        9              A.   I knew about it after he testified, yes.

10      10              Q.   While you were with the DEA; right?

11      11              A.   Yep.    Yes.

12      12              Q.   Did you submit any -- anything to the court or

13      13     any testimony of any sort to correct either Mr. Wright's

14      14     or Mr. Rafalski's testimony?

15      15              A.   No, not that I'm aware of.

16      16              Q.   Did you direct them to correct their testimony?

17      17              A.   Not that I'm aware of.

18      18              Q.   Okay.    I asked you about Agent Mapes --

19      19     actually, before I do, are you aware that there was a

20      20     court decision as a result of this case coming out of

21      21     this case?

22      22              A.   The money case?

23      23              Q.   Yes.

24      24              A.   Yeah, I am.

25

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